






David Gordon Munson
















IN THE
TENTH COURT OF APPEALS
                       

No. 10-98-027-CR

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;DAVID GORDON MUNSON,
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Appellant
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;v.

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;THE STATE OF TEXAS,
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Appellee
                                 

From the County Court at Law No. 1
Brazos County, Texas
Trial Court # 3691-95
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;

OPINION ON REHEARING
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;We dismissed this appeal for want of jurisdiction on December 16, 1998.  Appellant David
Gordon Munson was challenging the validity of his misdemeanor nolo contendere plea on the basis
that the trial court failed to properly admonish him of the consequences of his plea under article
26.13(a).


  See Tex. Code Crim. Proc. Ann. art. 26.13(a) (Vernon 1989).  Munsonâs notice of
appeal recites that the trial court granted him permission to appeal.  See Tex. R. App. P.
25.2(b)(3)(C).  However, the record did not affirmatively reflect that the court had in fact granted
permission to appeal.  Accordingly, we dismissed the appeal for want of jurisdiction.  See Rogers
v. State, 956 S.W.2d 624, 626 (Tex. App.âTexarkana 1997, pet. refâd); Hutchins v. State, 887
S.W.2d 207, 210 (Tex. App.âAustin 1994, pet. refâd).
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Munson has filed a motion for rehearing asking this Court to reinstate his appeal on the basis
of a recently-drawn order of the trial court stating, âIT IS ORDERED that David Gordon Munson
is granted permission to appeal, and that the Court intended to allow an appeal on December 16,
1997.â  Assuming without deciding that a trial court can supplement the record in this manner
after the expiration of its plenary power, we nevertheless conclude that we do not have jurisdiction
over this appeal for a different reason.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Munson pleaded nolo contendere to criminal trespass.  See Tex. Penal Code Ann. Â§
30.05(a)(1) (Vernon 1994).  Pursuant to the Stateâs plea recommendation, the court deferred an
adjudication of Munsonâs guilt; placed him on community supervision for two years; and required
him to pay a $2,000 fine while on community supervision.  The court rendered its order deferring
adjudication on August 6, 1996.  The State subsequently filed a motion to adjudicate Munsonâs
guilt.  After a contested hearing, the court adjudicated Munsonâs guilt and assessed his punishment
at 180 daysâ confinement in the county jail.  The court imposed sentence on December 16, 1997. 
Munson filed his notice of appeal on January 15, 1998.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Munson claims in two points that the court erred in accepting his original plea of nolo
contendere without giving him two of the admonishments required by article 26.13(a).  See Tex.
Code Crim. Proc. Ann. art. 26.13(a).  However, Munson failed to appeal from the courtâs
August 1996 order accepting his plea and deferring an adjudication of his guilt.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Article 44.01(j) allows a defendant âto appeal from a deferred adjudication [community
supervision] the same as [he] can appeal from a regular [community supervision].â  Dillehey v.
State, 815 S.W.2d 623, 625 (Tex. Crim. App. 1991); Alejandro v. State, 957 S.W.2d 143, 144
(Tex. App.âCorpus Christi 1997, pet. refâd).  Munson raises issues in this appeal which he
should have asserted in an appeal from the courtâs order placing him on unadjudicated community
supervision.  He chose not to.  His attempt to raise these issues by a notice of appeal filed
seventeen months later is untimely.  See Tex. R. App. P. 26.2(a)(1); Alejandro, 957 S.W.2d at
144.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Assuming without deciding the trial court in fact granted Munson permission to appeal,
Munsonâs appeal is nevertheless untimely because it was filed seventeen months after entry of the
order he seeks to appeal.  Accordingly, we deny Munsonâs motion for rehearing.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;PER CURIAM
Â&nbsp;
Before Chief Justice Davis,
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Justice Cummings (not participating),
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;and Justice Vance
Motion denied
Opinion delivered and filed February 10, 1999
Publish



n 189.0pt 3.0in 243.0pt 297.0pt 4.5in 5.25in 405.0pt 6.0in 459.0pt'&gt;    We
must, after a full examination of all the proceedings, .Â&nbsp;.Â&nbsp;. decide
whether the case is wholly frivolous.ÂÂ&nbsp; Anders at 744; accord Stafford v. State, 813 S.W.2d 503, 509-11 (Tex. Crim. App.
1991); Coronado v. State, 996 S.W.2d
283, 285 (Tex. App.ÂWaco 1999, order) (per curiam), disp. on merits, 25 S.W.3d 806 (Tex. App.ÂWaco 2000, pet.
refÂd).Â&nbsp; An appeal is Âwholly frivolousÂ
or Âwithout meritÂ when it Âlacks any basis in law or fact.ÂÂ&nbsp; McCoy
v. Court of Appeals, 486 U.S. 429, 439 n.10 (1988).Â&nbsp; Arguments are frivolous when they Âcannot
conceivably persuade the court.ÂÂ&nbsp; Id. at 436Â&nbsp; An appeal is not wholly frivolous when it is
based on Âarguable grounds.ÂÂ&nbsp; Stafford at 511. 

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; We
determine that the appeal is wholly frivolous.Â&nbsp;
Accordingly, we affirm.Â&nbsp; Counsel
must advise Appellant of our decision and of his right to file a petition for
discretionary review.Â&nbsp; See Sowels v. State, 45 S.W.3d 690, 694
(Tex. App.ÂWaco 2001, no pet.).

TOM
GRAY

Chief
Justice

Before
Chief Justice Gray,

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Justice Vance, and

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Justice Reyna

Affirmed

Opinion
delivered and filed January 5, 2005

Do
not publish

[CR25]





